          Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 1 of 27




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF VERMONT

MYWEBGROCER, INC.                         )
                                          ))
            Plaintiff and                 ))
            Counterclaim Defendant        ))
                                          ))
      v.                                  )                         Civil Action No. 5:16-cv-00310-gwc
                                          ))
ADLIFE MARKETING &,                       ))
COMMUNICATIONS CO., INC.                  )
                                          ))
            Defendant and                 )
            Counterclaim Plaintiff        ))
_________________________________________ ))

             PLAINTIFF’S
             PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT
                 ON LIABILITY FOR COPYRIGHT INFRINGEMENT

        Pursuant to Fed. R. Civ. P. 56 and Local Rule 56, Plaintiff MyWebGrocer, Inc.

(“MyWebGrocer”) hereby moves for partial summary judgment on the issue of liability as it
("MyWebGrocer")

                                                                 – specifically, Count I
pertains to the copyright infringement claims in this litigation —

(“Declaratory Judgment of No Copyright Infringement")
("Declaratory                          Infringement”) of MyWebGrocer's
                                                         MyWebGrocer’s Amended

                                                 (“Copyright Infringement”)
Complaint (ECF 10) and the First Cause of Action ("Copyright Infringement") of Adlife

                           Co.’s ("Adlife")
Marketing & Communications Co.'s (“Adlife”) Amended Counterclaim (ECF 47). For the

                          MyWebGrocer’s motion should be granted.
reasons set forth herein, MyWebGrocer's

                                      MEMORANDUM OF LAW

I.      INTRODUCTION

        MyWebGrocer provides software services to its retail grocery store customers that

consist of (a) building and maintaining e-commerce websites, (b) providing digital circular

services, and/or (c) building WordPress websites for customers. SUMF ¶ 1.1 MyWebGrocer has
                                                                     ¶ 1.1



11 "SUMF"
   “SUMF” refers to MyWebGrocer's
                    MyWebGrocer’s Statement of Undisputed Material Facts, filed concurrently herewith.
           Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 2 of 27




its own product library/database that contains information (e.g., descriptions, ingredients,

nutrition facts) on more than one million products, some of which have images associated with

them. Id. ¶
          ¶ 2. MyWebGrocer has obtained the images that are included in its product library

from consumer packaged goods companies/manufacturers pursuant to written authorizations,

from third-party image providers (e.g., iStock, Multi-Ad/Kwikee, ItemMaster) pursuant to

license agreements, and from industry groups (e.g., National Cattlemen's
                                                             Cattlemen’s Beef Association) that

provide images they own. Id. ¶
                             ¶ 3.

         MyWebGrocer’s retail grocery store customers use MyWebGrocer's
         MyWebGrocer's                                    MyWebGrocer’s product library

primarily in connection with e-commerce websites and recipe pages on websites. Id. ¶
                                                                                   ¶ 4.

MyWebGrocer does not provide images for circular content on customer websites; such images

                                           9.22 For WordPress websites built by MyWebGrocer
                                         ¶ 9.
are provided solely by the customer. Id. ¶

for its retail grocery store customers, the website is controlled solely by the customer. Id. ¶
                                                                                              ¶ 11.

Based upon (a) its own sourcing of images for its product library, (b) the representations and

warranties of its customers concerning images they provide, and (c) the fact that it does not

illegally download unlicensed or unauthorized images, MyWebGrocer at all times believes that

all images it displays or provides for display on customer websites do not infringe the intellectual

                                      ¶ 16.
property rights of third parties. Id. ¶

         Notwithstanding these sound business practices, beginning in or about July 2016, Adlife

began accusing MyWebGrocer of infringing copyrights allegedly owned by Adlife in various




22 With respect to images MyWebGrocer receives from its retail grocery store customers for display on those
 customers’ websites, the customer represents and warrants to MyWebGrocer, through its master services agreement,
 customers'
 that it has obtained all necessary rights for the display of the image and that such display will not infringe upon the
 intellectual property rights of any third parties. SUMF ¶  ¶ 13. MyWebGrocer does not add images provided by its
 retail grocery store customers to its product library, nor does it display such images for any other customers. Id.
¶¶ 14. Also, MyWebGrocer does not illegally download unlicensed or unauthorized images from the Internet or any
 other source. Id. ¶¶ 15.


                                                         -2-
                                                         -2
           Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 3 of 27




                                        below).3 After receiving notice of the alleged
prepared or raw food images (identified below).3

infringement and despite having rights to use several of the images or otherwise reasonably

believing the use at issue was duly authorized, MyWebGrocer promptly and in good faith

removed the images from its product library and/or from the customer website(s) where they

were displayed. Id. In
                    ¶¶ 26, 34, 47, 58, 71, 84, 96.

         MyWebGrocer filed this action on November 18, 2016, and later amended its Complaint

                                                                            Adlife’s alleged
on February 23, 2017, seeking a declaratory judgment of non-infringement of Adlife's

copyrights.4 ECF 1 & 10. In response, Adlife filed an Answer, Affirmative Defenses, and
copyrights.4

Counterclaim on February 6, 2017, and subsequently amended the same on March 9, 2017 and

January 31, 2018, claiming that that MyWebGrocer has infringed Adlife's
                                                               Adlife’s alleged copyrights.

ECF 5, 12 & 47. The five food images at issue in MyWebGrocer's
                                                 MyWebGrocer’s declaratory judgment claim

                                  “BeefBrisket001,” "SandwichTunaSalad001,"
are those identified by Adlife as "BeefBrisket001," “SandwichTunaSalad001,”

“WrapTurkeyHam001,” "SausagePasta001,"
"WrapTurkeyHam001," “SausagePasta001,” and "PorkRibBabyBack006."
                                           “PorkRibBabyBack006.” The latter three

                            Adlife’s infringement counterclaim, along with two other images
images are also at issue in Adlife's

(“MangosHR0612,” and "ChenyBing006_ADL").
("MangosHR0612,"     “CherryBing006_ADL”). For the remainder of this motion, these seven

(7) images are referred to collectively as the "Accused Images."55
                                               “Accused Images.”




33 As explained below, the Accused Images at issue in this case are wholly unoriginal photographic images of
prepared and raw foods, which were allegedly created between 11 and 22 years prior to any registration with the
Copyright Office. Having previously licensed its food images widely via iStock and Multi-Ad, Adlife apparently
  decided sometime in 2016 to rescind those licenses (effective in 2017) and focus instead on extracting settlements
  from third parties (including licensees) based on allegations of willful copyright infringement and threats of
  litigation. As part of this program, starting in or about August 2016, Adlife began retroactively registering groups of
  food photographs—totaling well into the thousands— in its name with the Copyright Office.
44 MyWebGrocer also brought a claim for injunctive relief and damages for Adlife's
                                                                                Adlife’s violation of the Vermont
Consumer Protection Act, 9 V.S.A. §§ 2451 et seq., through unfair and deceptive business practices. That claim is
not addressed in this motion.
 55 In its counterclaim, Adlife has elected not to make any claim for infringement and damages with respect to the
  “BeefBrisket001” and "SandwichTunaSalad001"
"BeefBrisket001"          “SandwichTunaSalad001” images. Those images are included only in MyWebGrocer's
                                                                                                   MyWebGrocer’s
  declaratory judgment claim.


                                                         -3-
         Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 4 of 27




       MyWebGrocer now seeks summary judgment on the issue of liability for copyright

infringement. As demonstrated below, MyWebGrocer is entitled to summary judgment on

Adlife’s copyright infringement claims because (1) the Accused Images at issue are not
Adlife's

sufficiently original to warrant copyright protection, (2) Adlife cannot establish ownership of the

Accused Images, and (3) the alleged uses of several of the Accused Images in this case were

licensed, or otherwise not a violation by MyWebGrocer.

II.    SUMMARY JUDGMENT STANDARD

       Summary judgment is appropriate where the moving party "shows
                                                              “shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a). The record evidence must be viewed in the light most favorable to
law."

the non-moving party, and all reasonable inferences drawn in his or her favor. GEICO Gen. Ins.

Co. v. Dowd, No. 2:12-cv-40, 2012 WL 6597685, at *2 (D. Vt. Dec. 18, 2012) (citing Weinstock

                                                    “However, mere conclusory allegations,
v. Columbia Univ., 224 F.3d 33, 41 (2d Cir. 2000)). "However,

                                                                   judgment.” Cifarelli v. Vill. of
speculation or conjecture will not avail a party resisting summary judgment."

Babylon, 93 F.3d 47, 51 (2d Cir. 1996).

       “By its very terms, [the summary judgment] standard provides that the mere existence of
       "By

some alleged factual dispute between the parties will not defeat an otherwise properly supported

motion for summary judgment; the requirement is that there be no genuine issue of material

fact.” U.S. v. Sullivan, No. 2:12-CV-72, 2013 WL 709222, at *5 (D. Vt. Feb. 27, 2013) (quoting
fact."

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986) (emphasis added in Sullivan));

Rojas v. The Roman Catholic Diocese of Rochester, 660 F.3d 98, 104 (2d Cir. 2011) (per

        (“mere existence of a scintilla of evidence in support of the [non-movant's]
curiam) ("mere                                                        [non-movant’s] position will

   insufficient”). An issue of fact is material if it "might
be insufficient").                                    “might affect the outcome of the suit under the




                                                -4-
                                                -4
         Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 5 of 27




governing law. An issue of fact is genuine if the evidence is such that a reasonable jury could

                                   party.” Konikoff v. Prudential Ins. Co. of Am., 234 F.3d 92,
return a verdict for the nonmoving party."

97 (2d Cir. 2000); Rojas, 660 F.3d at 104 ("In
                                          (“In weighing the evidence on a motion for summary

judgment, ‘the
          'the judge must ask . . . not whether the evidence unmistakably favors one side or the

other but whether a fair-minded jury could return a verdict for the [non-movant] on the evidence

presented.’”).
presented.'").

                                  “must do more than simply show that there is some
       Also, the non-moving party "must

                                      facts” and "must
metaphysical doubt as to the material facts"     “must come forward with specific facts showing

                                  trial.” Caldarola v. Calabrese, 298 F.3d 156, 160 (2d Cir. 2002).
that there is a genuine issue for trial."

The non-moving party may not rest on the pleadings but must further set forth specific facts in

the affidavits, depositions, answers to interrogatories, or admissions showing a genuine issue

exists for trial. See Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986).

       “Summary Judgment procedure is properly regarded not as a disfavored procedural
       "Summary

shortcut, but rather as an integral part of the Federal Rules as a whole, which are designed to

                                                               action.” Id. at 327 (internal
secure the just, speedy and inexpensive determination of every action."

quotations omitted). Moreover, the central purpose of summary judgment is to avoid a useless

trial by isolating and disposing of factually unsupported claims or defenses, and the Rule should

be interpreted in a way that allows it to accomplish this purpose. See id. at 323-24.

III.   ARGUMENT

       To establish liability for a copyright infringement claim, "two
                                                                  “two elements must be proven:

(1) ownership of a valid copyright; and (2) copying of constituent elements of the work that are

original.” Feist Publ'ns,
original."       Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). In this case,

Adlife cannot establish that the Accused Images possess the requisite degree of originality to be




                                               -5-
         Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 6 of 27




eligible for copyright protection, nor can Adlife meet its burden to prove that it owns valid

copyrights in any of the Accused Images. Moreover, for several of the Accused Images,

MyWebGrocer’s use was licensed, and in two other cases MyWebGrocer did not display the
MyWebGrocer's

Accused Image. On multiple bases, MyWebGrocer is entitled to judgment as a matter of law.

       A.      No Reasonable Jury Could Conclude That the Accused Images Are
               “Original” Within the Meaning of the Copyright Act.
               "Original"

       MyWebGrocer is entitled to judgment as a matter of law in this case because the Accused

Images lack any originality and are thus ineligible for copyright protection. To establish the

                                                                                “original” within
validity of its copyrights, Adlife must demonstrate that the Accused Images are "original"

                                                 (“Copyright protection subsists, in accordance
the meaning of copyright law. 17 U.S.C. § 102(a) ("Copyright

                                      authorship”) (emphasis supplied). Indeed, the Supreme Court
with this title, in original works of authorship")

                   “the sine qua non of copyright is originality"
has long held that "the                              originality” and "[t]o
                                                                      “[t]o qualify for copyright

                                           author.” Feist, 499 U.S. at 345; accord Harper & Row
protection, a work must be original to the author."

Publishers, Inc. v. Nation Enters., 471 U.S. 539, 545-46 (1985) (describing "the
                                                                            “the scheme

established by the Copyright Act for fostering original works that provide the seed and substance

        harvest” of knowledge). Where, as here, a work is registered more than five years after
of this harvest"

publication and therefore falls outside the statutory presumption of 17 U.S.C. 410(c), see infra

§ III.B, the plaintiff "carries
                       “carries the burden of proving ownership of a valid copyright, including its

originality.” Tuff ‘N’
originality."      'N' Rumble Mgmt., Inc. v. Profile Records, Inc., No. 95 Civ. 0246 (SHS),

1997 WL 158364, at *2 (S.D.N.Y. Apr. 2, 1997) (emphasis supplied).

       “Original” as the term is used in copyright means that "the
       "Original"                                             “the work was independently

                                                                                   creativity.” Feist,
created by the author . . ., and that it possesses at least some minimal degree of creativity."

499 U.S. at 345 (citing 1 Nimmer on Copyright §§ 2.01[A]-[B] (1990)). Originality, moreover,

is a "constitutional
     “constitutional requirement."
                     requirement.” Id. at 346. The Constitution grants to Congress the power to



                                                -6-
           Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 7 of 27




“Promote the Progress of Science and Useful Arts, by securing for limited Times to Authors and
"Promote

Inventors the exclusive Right to their respective Writings and Discoveries."
                                                               Discoveries.” U.S. Const., Art. I,

§ 8, cl. 8. The term "author,"
                     “author,” in its constitutional sense, has been construed to mean an

“originator,” "he
"originator," “he to whom anything owes its origin."
                                            origin.” Burrow-Giles Lithographic Co. v. Sarony,

111 U.S. 53, 58 (1884). Consistent with the purpose behind the Copyright Clause, the grant of a

             “intended to motivate the creative activity of authors and inventors by the provision
copyright is "intended

of a special reward, and to allow the public access to the products of their genius after the limited

                                expired.” Sony Corp. of Am. v. Universal City Studios, Inc., 464
period of exclusive control has expired."

                                             (“The primary objective of copyright is not to
U.S. 417, 429 (1984); Feist, 499 U.S. at 349 ("The

reward the labor of authors, but ‘[t]o                                             Arts.’”).6
                                 ' [t]o promote the Progress of Science and useful Arts.'").6

                                             “originality requires independent creation plus a
         Under well-established federal law, "originality

           creativity.” Id. at 346. While "even
modicum of creativity."                   “even a slight amount"
                                                         amount” of creativity will suffice to

                          “the vast majority of works make the grade quite easily,"
establish originality and "the                                             easily,” a work is not

                             “creative spark."
protectable where it lacks a "creative spark.” Id. at 345. As the Tenth Circuit has aptly

            “the unequivocal lesson from Feist is that works are not copyrightable to the extent
summarized, "the

                                                                   world.” Meshworks, Inc. v.
they do not involve any expression apart from the raw facts in the world."

Toyota Motor Sales U.S.A., Inc., 528 F.3d 1258, 1265 (10th Cir. 2008). For these reasons,

“‘scenes a faire,'
'scenes    faire,’ that is, scenes that necessarily result from the choice of a setting or situation,"
                                                                                           situation,”

are not protectable. Walker v. Time Life Films, Inc., 784 F.2d 44, 50 (2d Cir. 1986). Neither




66 Originality "remains
               “remains the touchstone of copyright protection today"
                                                                 today” and is the very "premise
                                                                                        “premise of copyright law.”
                                                                                                                law."
Feist, 499 U.S. at 347 (internal citations omitted). When it amended the Copyright Act in 1976, Congress expressly
 included the phrase "original
                     “original works of authorship"
                                         authorship” in the statute and purposely left it undefined, in order to maintain
the established understanding of originality. See H.R. Rep. No. 94-1476, at *51 (1976) ("The(“The phrase ‘original
                                                                                                          'original works
    authorship,’ which is purposely left undefined, is intended to incorporate without change the standard of
of authorship,'
                                                                          statute.”).
originality established by the courts under the present [1909] copyright statute.").


                                                         -7-
                                                         -7
         Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 8 of 27




                                    “‘stock’ themes commonly linked to a particular genre."
does copyright protection extend to 'stock'                                         genre.” Id.;

see also Am. Dir. Mktg., Inc. v. Azad Intl,
                                      Int’l, Inc., 783 F. Supp. 84, 95 (E.D.N.Y. 1992).

       For example, the Southern District of New York held that generic photographs of

Chinese food dishes were insufficiently original to warrant copyright protection. See Oriental

Art Printing, Inc. v. Goldstar Printing Corp., 175 F. Supp. 2d 542 (S.D.N.Y. 2001). In Oriental

                  plaintiffs’ copyrighted work consisted of:
Art Printing, the plaintiffs'

       photographs of several common, but unlabeled Chinese food dishes, arranged in
       various patterns on a white background . . . in full circles, semi-circles, and open
       circles, ovals, zigzags, and parallel rows, among other patterns. Some of the
       arrangements also contain certain geometric artwork, such as floating hearts,
       stars, or diamonds. The food items themselves appear on plates of various sizes,
       which each contain the same traditional decorative pattern.

Id. at 544. The court concluded that "the
                                     “the photographs contained in plaintiffs'
                                                                   plaintiffs’ work lack the

creative or expressive elements that would render them original works subject to protection

                    Act.” Id. at 546. The court explained that the photographs at issue were
under the Copyright Act."

“direct depictions of the most common Chinese food dishes"
"direct                                            dishes” sitting on plates which bore an

“extremely common"
"extremely common” pattern reflecting lotus flowers and leaves. Id. at 547. Plaintiffs failed to

describe how the photographs were taken and provided nothing beyond a conclusory statement

          “lighting” and "angles"
about the "lighting"     “angles” used by the photographer. Id.; cf. Rogers v. Koons, 960 F.2d

301, 307 (2d Cir. 1992) (holding that elements of originality in a photograph may include

“posing the subjects, lighting, angle, selection of film and camera,"
"posing                                                      camera,” among other variants). The

                                                     – at the pleadings stage, no less —
photographs were so generic that the Court concluded —                                 – that the

“photographs at issue were not designed with creativity or art in mind"
"photographs                                                      mind” but instead "serve[d]
                                                                                    “serve[d] a

purely utilitarian purpose: to identify for restaurant customers those dishes on a take-out menu,

                                                                                     contains.”
such that the customers may achieve a better understanding of what a particular dish contains."

Oriental Art Printing, 175 F. Supp. 2d at 547.



                                                 -8-
         Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 9 of 27




       Courts have held other, similar stock themed photographs not to be protectable due to

their purely utilitarian and descriptive purposes. Citing Oriental Art Printing, the Eastern District

                                               “not corner the market on advertising aftermarket
of North Carolina concluded that a party could "not

                                                                                   wares.”
motorcycle lighting accessories by copyrighting purely descriptive pictures of its wares."

Custom Dynamics, LLC v. Radiantz LED Lighting, Inc., 535 F. Supp. 2d 542, 549 (E.D.N.C.

2008) (denying motion for preliminary injunction). The photographs were not protectable

             “were meant to serve the purely utilitarian purpose of displaying examples of its
because they "were

                     customers.” Id. Likewise, "before-and-after"
product to potential customers."               “before-and-after” photographs of a dentist's
                                                                                   dentist’s

                                                            “fall into a class of photographs
cosmetic dental work displayed on his website were found to "fall

that federal courts throughout the United States have found to be devoid of creativity or

originality.” Pohl v. MH SUB I, LLC, 314 F. Supp. 3d 1225, 1230 (N.D. Fla. 2018) (collecting
originality."

cases); see also Inspired By Design, LLC v. Sammy’s
                                            Sammy's Sew Shop, LLC, 16-cv-2290-DDC-KGG,

                                                            “descriptive pictures presenting
2016 WL 6093778, at *9 (D. Kan. Oct. 19, 2016) (determining "descriptive

                                    sale” not likely to be copyrightable); Harner v. Wong Corp.,
the types of pet beds available for sale"

1:12-cv-00820-KG-ACT, 2013 WL 11549284, at *6 (D.N.M. Oct. 31, 2013) (holding that

photographs of computers and computer components served utilitarian and descriptive purposes

                   “not sufficiently original to be protected by copyright law").
and were therefore "not                                                    law”).

       In this case, the Accused Images are so generic and devoid of creativity that no

reasonable jury could conclude that they are original within the meaning of the Copyright Act.

Even a cursory examination of the Accused Images indicates that they lack the "creative
                                                                              “creative spark"
                                                                                        spark”

necessary to render them protectable. The Accused Images are depicted below:




                                                -9-
        Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 10 of 27




                                                                   0


  “PorkRibBabyBack006”
  "PorkRibBabyBack006"               “SausagePasta001”
                                     "SausagePasta001"            “WrapTurkeyHam001
                                                                  "WrapTurkeyHam001




     “MangosHR0612”
     "MangosHR0612"               “CherryBing006_ADL”
                                  "CherryBing006_ADL"               “BeefBrisket001”
                                                                    "BeefBrisket001"




                                 “SandwichTunaSalad001”
                                 "SandwichTunaSalad001"

       Each of the Accused Images serves the purely functional and utilitarian purpose of

depicting various foods so that an observer will know which particular item or dish is being

advertised. Notably, Adlife has adduced no evidence regarding how these photographic images

were taken, including any aesthetic or artistic choices that informed the process. SUMF ¶
                                                                                        ¶ 108.

This is not surprising, as it is difficult to see why a photographer would need to make any

creative choices regarding camera angle and lighting while photographing such generic material,

      “[t]he overhead angle flows naturally from the subject matter of the photograph."
since "[t]he                                                               photograph.” Psihoyos

   Nat’l Geographic Soc’y,
v. Nat'l            Soc'y, 409 F. Supp. 2d 268, 276 (S.D.N.Y. 2005) (concluding that

photographs at issue were non-original). Moreover, according to Joel Albrizio, who claims to

have photographed six of the seven Accused Images (and, in fact, nearly all of the photographs


                                              - 10 -
                                              -10-
         Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 11 of 27




                                     “lighting isn't
retroactively registered by Adlife), "lighting isn’t very difficult. The cameras all pretty much

                     own.” SUMF ¶
self-adjust on their own."      ¶ 110. Indeed, as far as Mr. Albrizio was concerned, any

                                                             “[t]he creativity takes place with the
creativity lay in cooking the food, not in photographing it: "[t]he

food” —
food" – specifically, preparing food that "the
                                          “the customer, the consumer could identify with and

                               house.” Id. ¶
believe they could cook at the house."     ¶ 109.

              Albrizio’s testimony confirms, there is nothing at all original or creative about the
       As Mr. Albrizio's

Accused Images. As to the depiction of raw mangos and a pile of cherries, there is not even any

cooking or other preparation involved. Nor is there any evidence that the images of a plate of

                                   “designed with creativity or art in mind
pasta or other prepared foods were "designed                           mind.”
                                                                            " It is well

                                                          “the photographer's
established that a copyright in a photograph derives from "the photographer’s original

                                           itself.” Kisch v. Ammirati & Puris Inc., 657 F. Supp.
conception of his subject, not the subject itself"

                                                             “To the extent a photograph
380, 382 (S.D.N.Y. 1987) (internal quotation marks omitted). "To

captures the characteristics of an object as it occurs in nature, these characteristics are not

protectable.” Psihoyos, 409 F. Supp. 2d at 275. Adlife is foreclosed from copyrighting the idea
protectable."

of mangos, cherries, beef brisket, sausage pasta, or any of the other foods depicted in the

Accused Images. See Harper & Row, 471 U.S. at 547 ("[N]o
                                                  (“[N]o author may copyright facts or

ideas. The copyright is limited to those aspects of the work—termed ‘expression’—that
                                                                    'expression'—that display

                 author’s originality.");
the stamp of the author's originality.”); Reyher v. Children's
                                                    Children’s Television Workshop, 533 F.2d 87,

90 (2d Cir. 1976) ("It
                  (“It is an axiom of copyright law that the protection granted to a copyrightable

work extends only to the particular expression of an idea and never to the idea itself.").
                                                                                itself.”).

       Nor can Adlife claim copyright protection as a result of staging of the Accused Images.

The decision to photograph prepared food on a plate accompanied by potato chips or parsley is

not a creative choice. Such "staging"
                            “staging” merely captures the prepared foods exactly as one would




                                                - 11 -
         Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 12 of 27




expect to find them served in a delicatessen or restaurant. See, e.g., Oriental Art Printing, 175 F.

Supp. 2d 548 n.3 ("each
                 (“each of the potentially protectable elements, i.e. the photographs'
                                                                          photographs’ lighting,

angle, and the choice of plate flow necessarily from the subject matter of the photographs, i.e. the

                                                    dishes”). Photographing raw foods (e.g.,
realistic depiction of the most common Chinese food dishes").

mangos or cherries) on a plain white background has even less spark. See, e.g., Psihoyos, 409 F.

Supp. 2d at 276 (concluding that copyright protection could not be afforded "to
                                                                            “to the idea of

                                  setting” laying on sand).
showing the Fossil in its natural setting"

       For these reasons, the Accused Images lack any protectable elements. Adlife cannot

                                                                                 “spark” in the
sustain its burden of demonstrating that it contributed any creative or artistic "spark"

course of (allegedly) taking the Accused Images. Non-original works like the Accused Images

are ineligible for copyright protection. The foods depicted in the Accused Images appear exactly

as one would expect to find them in nature or served in a restaurant. Their appearance and

characteristics are non-copyrightable facts: they existed before Adlife (allegedly) photographed

them and would have continued to exist if Adlife had never photographed them. Cf. Feist, 499

U.S. at 361. Thus, MyWebGrocer is entitled to judgment as a matter of law.

       B.      Adlife Cannot Establish Ownership of Valid Copyrights.

       MyWebGrocer is entitled to judgment as a matter of law for the additional reason that

Adlife cannot sustain its burden of establishing ownership of valid copyrights with respect to the

Accused Images. "Before
                “Before asking a court to consider the question of infringement, a party must

demonstrate the existence and the validity of its copyright, for in the absence of copyright (or

patent, trademark, or state law) protection, even original creations are in the public domain and

              copied.” Durham Indus., Inc. v. Tomy Corp., 630 F.2d 905, 908 (2d Cir. 1980).
may be freely copied."

In many cases, the existence of a valid copyright can be established by the introduction into




                                                - 12 -
                                                -12-
         Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 13 of 27




evidence of a Copyright Office certificate of registration. Id. "It
                                                                “It is clear, however, that a

                                       irrebuttable presumption of copyright validity. Where other
certificate of registration creates no inebuttable

                                                                         assumed.” Id.
evidence in the record casts doubt on the question, validity will not be assumed."

       Moreover, the evidentiary weight to be accorded a certificate of registration depends on

                                registration’s effective date and the date of the covered work's
the passage of time between the registration's                                            work’s

publication. In pertinent part, the Copyright Act of 1976 provides that:

        In any judicial proceedings the certificate of a registration made before or within
        five years
       five  years after first publication of the work shall constitute prima facie evidence
        of the validity of the copyright and of the facts stated in the certificate. The
        evidentiary weight to be accorded the certificate of a registration made thereafter
       shall be within the discretion of of the court.

17 U.S.C. § 410(c) (emphasis supplied). As Professor Nimmer comments, Section 410(c)

“disentitles certificates issued over five years after publication from any automatic presumption."
"disentitles                                                                          presumption.”

                        12.11[A][1].
3 Nimmer on Copyright § 12.11[A]                      Act’s legislative history indicates, this
                                [1]. As the Copyright Act's

“five-year period is based on a recognition that the longer the lapse of time between publication
"five-year

and registration the less likely to be reliable are the facts stated in the certificate."
                                                                            certificate.” H.R. Rep. No.

94-1476, at *156 (1976) (emphasis supplied).

        Thus, where the relevant certificate(s) issued over five years after publication, the Court

must exercise its discretion in according evidentiary weight (or no evidentiary weight) to them.

“While the Court can rely on the Copyright Register's
"While                                     Register’s opinion on the issue of copyrightability, it

                             question.” Carol Barnhart Inc. v. Econ. Cover Corp., 594 F. Supp.
should not accept it without question."

                          aff’d, 773 F.2d 411 (2d Cir. 1985). This is because "[t]he
364, 367 (E.D.N.Y. 1984), aff'd,                                              “[t]he Copyright

Office’s scrutiny of an article for registration is not like the intense and prolonged scrutiny
Office's

required for patent and trademark registration. Elements of copyrightability are viewed as

largely legal questions and therefore equally within the expertise of the courts."
                                                                          courts.” Id.




                                                - 13 -
          Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 14 of 27




         As the Register of Copyrights has stated to the Second Circuit, "the
                                                                         “the Copyright Office's
                                                                                        Office’s

examination of copyright applications is ‘necessarily limited,’ and should be ‘distinguished
                                         'necessarily limited,'               'distinguished from

                         Office’s process for issuance of patents.'
the Patent and Trademark Office's                         patents.’ ‘The
                                                                     The Office does not make

factual determinations with respect to publication or any other act done outside of the Office'
                                                                                        Office’

and ‘will                                          party,’ which are ‘not
    'will register adverse claims by more than one party,'                unusual.’” Estate of
                                                                     'not unusual.'"

Burne Hogarth v. Edgar Rice Burroughs, Inc., 342 F.3d 149, 166 (2d Cir. 2003) (quoting Letter

of Marybeth Peters, Register of Copyrights, to Roseann MacKechnie, Clerk, U.S. Court of

                                        2003)).7
Appeals for the Second Circuit (Apr. 8, 2003)).7

         In this case, no presumption of validity attaches to Adlife's
                                                              Adlife’s certificates of registration that

cover the Accused Images because the effective dates of the registration are all well more than

five years—in some cases, more than twenty years—after the Accused Images’
                                                                   Images' alleged creation

and dates of publication. The following table summarizes the claimed dates of creation and

publication, effective dates of registration, and basis of ownership for the Accused Images:


                                                                           Effective
                               Registration    Date of        Date of        Date                Alleged Basis
      Accused Image
                                Number         Creation     Publication       of                 of Ownership
                                                                          Registration
                                                                                            ADLIFE Marketing &
 “PorkBabyBackRib006”8
 "PorkBabyBackRib006"8        VA 2-020-735      4/21/94       5/5/94        10/23/16       Communications Co. Inc.
                                                                                           Employer-for-Hire of Joel
                                                                                                  Albrizio
                                                                                            ADLIFE Marketing &
    “SausagePasta001”9
    "SausagePasta001"9        VA 2-019-921      3/2/97        3/9/97        10/14/16       Communications Co. Inc.
                                                                                           Employer-for-Hire of Joel
                                                                                                  Albrizio
                                                                                            ADLIFE Marketing &
 “WrapTurkeyHam001”10
 "WrapTurkeyHam001"1°         VA 2-017-741      11/8/05      11/16/05       9/20/16        Communications Co. Inc.
                                                                                           Employer-for-Hire of Joel
                                                                                                  Albrizio




77 As another leading treatise comments, any presumption of validity "accorded
                                                                     “accorded plaintiff under the statute is . . . weak
since the Copyright Office is one of record and not one of rigorous examination[.]"
                                                                    examination[.]” Patry on Copyright § 9:11.
8 SUMF Ili
8         ¶¶ 17-20.
9     ¶¶ 28-31.
9 Id. Tif
10 Id. in
       ¶¶ 38-41.


                                                          - 14 -
                                                          -14-
          Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 15 of 27



                                                                               ADLIFE Marketing &
   “MangosHR0612”11
   "MangosHR0612"11        VA 2-022-602   6/21/94       7/5/94    11/18/16    Communications Co. Inc.
                                                                              Employer-for-Hire of Joel
                                                                                     Albrizio
                                                                               ADLIFE Marketing &
 “CherryBing006_ADL”12
 "CherryBing006_ADL"12     VA 2-047-017   6/18/00       6/25/00    3/5/17     Communications Co. Inc.
                                                                              Employer-for-Hire of Joel
                                                                                     Albrizio
                                                                                Adlife Marketing &
    “BeefBrisket001”13
    "BeefBrisket001"13     VA 2-012-581   7/11/99       7/23/99    8/5/16     Communications Co., Inc.
                                                                             Employer for Hire of David
                                                                                       Ciolfi
                                                                               ADLIFE Marketing &
“SandwichTunaSalad001”14
"SandwichTunaSalad001"14   VA 2-017-741   7/11/05       7/19/05   9/20/16     Communications Co. Inc.
                                                                              Employer-for-Hire of Joel
                                                                                     Albrizio


         As the table illustrates, the shortest period of time between the alleged publication of an

Accused Image and the effective date of the corresponding certificate of registration is just under

             “WrapTurkeyHam001.” Two Accused Images—“PorkBabyBackRib006”
11 years—for "WrapTurkeyHam001."             Images—"PorkBabyBackRib006" and

“MangosHR0612”—were registered more than 22 years after their alleged dates of publication.
"MangosHR0612"—were

The bottom line is that none of the certificates of registration constitutes prima
                                                                             prima facie
                                                                                    facie evidence of

Adlife’s claimed ownership of any of the Accused Images, and thus Adlife bears the burden of
Adlife's

proving the validity of its copyrights. 17 U.S.C. § 410(c); Tuff ‘N’
                                                                 'N' Rumble Mgmt., 1997 WL

                                                    “has the burden of proving the validity of its
158364, at *2 (stating that alleged copyright owner "has

copyright” where the copyright was registered more than 18 years after the date of first
copyright"

publication stated on the registration). The Court, in its discretion, should accord no evidentiary

weight whatsoever to the certificates of registration. Adlife has provided no evidence to

corroborate key information stated in the registrations. Indeed, much of the pertinent

information in the registrations is either wholly unsupported or inaccurate.




11 Id. Irlf
11     ¶¶ 50-53.
12 Id. TT
12     ¶¶ 63-66.
13 Id. Irlf
13     ¶¶ 74-77.
14 Id. TT
14     ¶¶ 86-89.


                                                    - 15 -
                                                    -15-
         Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 16 of 27




       The registration that covers "BeefBrisket001"
                                    “BeefBrisket001” identifies the photographer as "David
                                                                                    “David

Cioffi,” whose surname is misspelled. SUMF ¶
Cioffi,"                                   ¶ 75. Mr. Ciolfi (the correct spelling) was

employed by Adlife as a staff photographer for approximately ten years, from February 15, 1990

until January 18, 2000. Id. ¶
                            ¶ 127. However, Mr. Ciolfi does not recall taking any of the 135

                                                           “BeefBrisket001.” Id. ¶
images covered by Registration No. VA 2-012-581, including "BeefBrisket001."     ¶ 143.

And, in fact, as to many images covered by that registration, Mr. Ciolfi is certain that he did not

take that particular image, and he is certain he did not take all of them. Id. Beyond the

registration itself, Adlife has provided no evidence to corroborate its assertion that Mr. Ciolfi (or

                                                       “BeefBrisket001” image. Id. ¶
any Adlife employee for that matter) actually took the "BeefBrisket001"            ¶ 101. As

      Adlife’s evidence of ownership of the image is paper thin, at best.
such, Adlife's

       There is, moreover, ample reason to discredit Adlife's
                                                     Adlife’s attribution of authorship of

“BeefBrisket001” (or any other photographic image) to Mr. Ciolfi. Adlife has also identified
"BeefBrisket001"

Mr. Ciolfi in its Registration No. VA 2-014-708 as the photographer who took all of the images

covered by that registration (which does not pertain to any of the Accused Images). However, all

                                                                                      years
images in that group registration were reportedly created and published in 2007—seven years

after Mr. Ciolfi left Adlife. Id. 'Irlf
                                  ¶¶ 139-141. Mr. Ciolfi therefore was not, and could not have

been, the photographer of any of the images allegedly covered by Registration No. VA 2-014-

708 since he was not employed by Adlife in 2007, has not performed any photography services

for Adlife in any capacity since leaving the company, and has not assigned or otherwise

transferred to Adlife any rights he has or has ever had in photographic images he created after

leaving Adlife in January 2000. Id. 'Irlf
                                     ¶¶ 137-138. For this reason, Adlife's
                                                                  Adlife’s representations to the

                               Ciolfi’s role should not be given any weight.
Copyright Office regarding Mr. Ciolfi's




                                                - 16 -
                                                -16-
         Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 17 of 27




        The registrations covering the other six Accused Images represent that Joel Albrizio,

Adlife’s president, took the all of the photos in them between 1994 and 2005, as an employee of
Adlife's

Adlife. These assertions also are entitled to no weight. At the time of his hire by Adlife, David

Ciolfi was the only photographer employed by Adlife, but over the course of his tenure, Adlife

came to employ a group of six staff photographers, whom Mr. Ciolfi oversaw and for whom Mr.

Ciolfi prepared daily shooting schedules. Id. I¶¶ 128-29, 134. More importantly, however,

during his entire ten-year tenure at Adlife, David Ciolfi never once saw Joel Albrizio pick up a

camera, take a photograph, or have any involvement in the process of taking of images or any

part of the technical process of either film or digital photography production, and Mr. Ciolfi

never prepared a daily shooting schedule for Mr. Albrizio, as he was not one of Adlife's
                                                                                Adlife’s staff

photographers. Id. I¶¶ 133, 135. Rather, Mr. Albrizio's
                                             Albrizio’s role with Adlife during Mr. Ciolfi's
                                                                                    Ciolfi’s

                                                                                     ¶¶ 131-32.
tenure was as a partner and salesperson, and had nothing to do with photography. Id. In

It strains credulity for Adlife to assert, despite its having employed a corps of staff photographers

during the relevant period, that Mr. Albrizio (of all people) took all ~1,000 photographs covered
                                                                       —1,000 photographs

             registrations.15 Adlife has provided no evidence in this litigation to corroborate its
by the other registrations.15

assertion that Mr. Albrizio (or any Adlife employee) actually took the six Accused Images

                       ¶¶ 100-01, 104.
attributed to him. Id. 'Irlf

        Even accepting the dubious premise that Joel Albrizio had any role in Adlife's
                                                                              Adlife’s

photography operations, Adlife's
                        Adlife’s attribution of authorship to Mr. Albrizio as an employee

          “PorkBabyBackRib006” and "MangosHR0612"
regarding "PorkBabyBackRib006"     “MangosHR0612” is particularly suspect. These two



15 Registration No. VA 2-020-735 covers 15 photographic images, including "PorkRibBabyBack006."
15                                                                         “PorkRibBabyBack006.” Registration
No. VA 2-019-921 covers approximately 220 photographic images, including "SausagePasta001."
                                                                            “SausagePasta001.” Registration No.
VA 2-017-741 covers approximately 250 photographic images, including "WrapTurkeyHam001"
                                                                       “WrapTurkeyHam001” and
“SandwichTunaSalad001.” Registration No. VA 2-022-602 covers approximately 220 photographic images,
"SandwichTunaSalad001."
including "MangosHR0612."
          “MangosHR0612.” Registration No. VA 2-047-017 covers approximately 250 photographic images,
          “CherryBing006_ADL.” SUMF TT
including "CherryBing006_ADL."           ¶¶ 17-19, 28-30, 39-41, 50-52, 63-66, 86-88.


                                                    - 17 -
                                                    -17-
          Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 18 of 27




images were reportedly created on April 21, 1994 and June 21, 1994, respectively. Mr. Albrizio

purchased shares in Adlife in September 1994, and an online Radaris profile page indicates that

                                               1994.16 Id. In
his affiliation with Adlife began in September 1994.16     ¶¶ 111-13. At the time of his June 21,

                                    Albrizio’s Linkedln.com
2018 deposition in this action, Mr. Albrizio's LinkedIn.com profile stated that his affiliation with

Adlife began in 1994 as President. Id. ¶
                                       ¶ 114. However, he testified that he became a "W-2
                                                                                     “W-2

employee” of Adlife in 1992, and that 1994 was when he purchased Adlife stock and became an
employee"

                            ¶ 115. Notably, as of August 27, 2018—two months after his
officer of the company. Id. ¶

               Albrizio’s LinkedIn.com
deposition—Mr. Albrizio's Linkedln.com profile page had been changed, stating that his

affiliation with Adlife began in 1992, as President. Id. ¶
                                                         ¶ 116.

        Adlife cannot explain this discrepancy or establish that Mr. Albrizio was, in fact, an

employee when any of the Accused Images were allegedly taken. Adlife cannot produce any

offer or hiring letters between Adlife and Mr. Albrizio, nor does it have any documents sufficient

                                       Albrizio’s affiliation with Adlife as an employee. Id.
to verify the commencement date of Mr. Albrizio's

¶¶ 117-18. Adlife cannot produce a Form W-2 for Mr. Albrizio for the years 1992, 1993, 1994,
In

                                                “SausagePasta001”), 1999 (alleged creation year
or for the years 1997 (alleged creation year of "SausagePasta001"),

   “BeefBrisket001”), 2000 (alleged creation year of "CherryBing006_ADL"),
of "BeefBrisket001"),                                “CherryBing006_ADL”), or 2005 (alleged

                 “SandwichTunaSalad001” and "WrapTurkeyHam001").
creation year of "SandwichTunaSalad001"     “WrapTurkeyHam001”). Id. In
                                                                     ¶¶ 119-25. Adlife

also does not have in its possession, custody, or control any assignment agreements concerning

any of the Accused Images. Id. ¶
                               ¶ 126. Simply put, Adlife cannot prove that it owns any of the

Accused Images as works-for-hire of Mr. Albrizio or that Mr. Albrizio assigned or transferred

any rights he may have had in the Accused Images to Adlife. Regarding the two Accused

Images allegedly created prior to September 1994, it appears that, in the course of litigation, Mr.


16 Prior to purchasing shares in Adlife, Mr. Albrizio owned and operated J.M. Albrizio, Incorporated, which had a
16
                                                Adlife’s. SUMF ¶
similar business purpose and business model as Adlife's.         ¶ 112.


                                                      - 18 -
                                                      -18-
         Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 19 of 27




Albrizio may have attempted to alter the public record regarding the beginning of his

employment with Adlife to 1992 from 1994 in order to create the appearance that he had been an

                     “PorkBabyBackRib006” and "MangosHR0612
employee at the time "PorkBabyBackRib006"     “MangosHR0612 were allegedly created.

                                                                                        Adlife’s
       Based on the foregoing, the Court, in its discretion, should accord no weight to Adlife's

registrations, which are rife with inaccuracies, lack any corroboration, and might well contain

                                                                                        Images’
outright falsehoods. Particularly given the lengthy passage of time between the Accused Images'

alleged dates of creation/publication and the effective dates of the registrations, see H.R. Rep.

94-1476, at *156, supra, and the inaccuracies in the certificates, there is specific reason to

         Adlife’s unsupported and self-serving representations of ownership to the Copyright
question Adlife's

Office. See, e.g., Brown v. Latin Am. Music Co., 498 F.3d 18, 24-25 (1st Cir. 2007) (affirming

                                    “did not present any substantive support for its claim of
district court because the claimant "did

                                      gap” and other evidence which cast doubt on the
copyright, as against the twenty-year gap"

registrations); Tuff ‘N’
                     'N' Rumble Mgmt., 1997 WL 158364, at *2-3 (concluding that claimant had

not sustained its burden of proving ownership where it failed to produce evidence of who owned

the original copyright and how, when, or if that copyright had been transferred to the claimant).

       Moreover, Adlife has produced no evidence—aside from the registrations (which should

be accorded no weight)—to demonstrate that it owns the Accused Images. During David

Ciolfi’s ten-year tenure at Adlife, the company's
Ciolfi's                                company’s images were all captured using film, and the

film was placed in sleeves and binders and stored in file cabinets. SUMF ¶
                                                                         ¶ 136. Toward the end

of his tenure, Adlife incorporated digital photography as it became available while still shooting

film. All film would then be scanned to Adlife's
                                        Adlife’s servers, along with digital images direct from

digital cameras. Id. Adlife, however, does not have in its possession, custody, or control any

notes, metadata, digital files, film, or other information to demonstrate and verify that it created




                                                - 19 -
                                                -19-
          Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 20 of 27




                        ¶ 105. In its Interrogatory responses, Adlife stated that "Upon
the Accused Images. Id. ¶                                                         “Upon

information and belief, Joel Albrizio —
                                      – founder and CEO of Adlife —
                                                                  – captured/took the Accused

Images.”
Images." Id. ¶
             ¶ 102 (emphasis supplied). However, Adlife represented to the Copyright Office

                                                  “BeefBrisket001.” Id. ¶
that Mr. Ciolfi—not Mr. Albrizio—had photographed "BeefBrisket001."     ¶ 75. Adlife then

gave a completely different answer in its supplemental interrogatory responses, stating that

                                                                      “is not currently
information on the identity of the photographer of the Accused Images "is

available,” "[g]iven
available," “[g]iven that the Accused Images [were] created/captured on or about 1999."
                                                                                 1999.” Id.

¶ 103.
¶

         Adlife’s sworn discovery responses are not only internally contradictory, but are
         Adlife's

inconsistent with its representations to the Copyright Office regarding the creation of the

Accused Images. While a district court does not ordinarily weigh credibility at the summary

                “in the rare circumstance where the plaintiff relies almost exclusively on his
judgment stage, "in

own testimony, it will be impossible for a district court to determine whether the jury could

reasonably find for the plaintiff, and thus whether there are any ‘genuine’
                                                                  'genuine' issues of material fact,

                                      plaintiff’s account."
without making some assessment of the plaintiff's account.” Jeffreys v. City of New York, 426

F.3d 549, 551, 554 (2d Cir. 2005) (affirming summary judgment on the basis of plaintiffs
                                                                              plaintiff’s

          “which was largely unsubstantiated by any other directed evidence"
testimony "which                                                   evidence” and was "so
                                                                                     “so

replete with inconsistencies and improbabilities that no reasonable juror would undertake the

                                                                        complaint”); accord Rojas,
suspension of disbelief necessary to credit the allegations made in his complaint");

660 F.3d at 103-04 (affirming summary judgment where the district court "catalogued
                                                                        “catalogued the

                    contradictions” in plaintiff's
inconsistencies and contradictions"    plaintiff’s testimony, including where plaintiff "changed
                                                                                        “changed

key aspects of her prior version of events, set forth in pleadings, trial testimony, and sworn

          responses”). This is such a case where Adlife's
discovery responses").                           Adlife’s assertions, even at the summary




                                               - 20 -
                                               -20-
          Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 21 of 27




judgment stage, cannot be credited in view of its lack of critical proof and its inconsistent and

contradictory discovery responses.

         Further compounding this evidentiary gap, Adlife has no information on the specific

location where any of the Accused Images were taken, or on any persons (other than Joel

Albrizio) who were supposedly present at the taking of any of the Accused Images or who were

involved in the process of generating the Accused Images. Id. ¶
                                                              ¶ 106. Nor does Adlife have any

agreements or other documents (beyond the registration certificates) relating to the taking or

ownership of any of the Accused Images. Id. Nor does Adlife have any employee agreements,

other work for hire agreements, and commissioning agreements concerning or relating to any of

                        ¶ 107. Adlife has not even produced certified copies of the copyright
the Accused Images. Id. ¶

                                                                                applications.17 Id.
deposits it claims to have submitted to the Copyright Office with its copyright applications.17

¶ 99. Without a certified copy of the registration deposit materials from the Copyright Office,
¶

there is no way for MyWebGrocer or the Court to conclusively verify that the certificates of

registration even cover the Accused Images.

                                Adlife’s claims of ownership cannot be credited is the fact that
         Yet another reason why Adlife's

images it has registered with the Copyright Office in its name are actually owned by third

parties. During this litigation Adlife has raised other images it contends have been infringed by

                                          “BeefChuckSteakBnls007” and
MyWebGrocer, including ones identified as "BeefChuckSteakBn1s007"

“BeefSloppyJoe001.” Id. ¶
"BeefSloppyJoe001."     ¶ 144. However, MyWebGrocer obtained these images —
                                                                          – which are

included in the same Adlife copyright registration claiming to cover the “BeefBrisket001”
                                                                         "BeefBrisket001" image

– from trade associations representing the beef industry. Id. I¶¶ 145-46. These trade associations
—

      “vast library"
own a "vast library” of images and provide them —
                                                – for no charge —
                                                                – for use by professionals in

17 "[D]eposit
17 “[D]eposit material is the actual work that the copyright claimant originally sent to the Copyright Office in
support of its claim for registration. . . . A failure to submit a valid deposit copy of a work will invalidate an entire
copyright registration and oust a federal court of jurisdiction."
                                                      jurisdiction.” Copyright Lit. Handbook § 4.6 (2d ed.).


                                                          - 21 -
          Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 22 of 27




retail, food service, and other beef-industry-aligned fields to promote beef products. Id. ¶
                                                                                           ¶ 146.

Adlife’s registration of images owned by third parties in one of the group registrations at issue in
Adlife's

this action represents yet another red flag that diminishes the reliability of the certificates of

registration.

        Based on the foregoing, Adlife cannot carry its burden of proving ownership of the

Accused Images. The certificates of registration are entitled to no evidentiary weight, and Adlife

has failed to produce any evidence to demonstrate its ownership and corroborate the information

reflected in the certificates of registration. On this additional basis, MyWebGrocer is entitled to

judgment as a matter of law.

        C.       MyWebGrocer’s Alleged Use of the Accused Images Was Licensed in Several
                 MyWebGrocer's
                 Instances, or Otherwise Not a Violation.

                                                             MyWebGrocer’s alleged use fell
        Finally, with respect to four of the Accused Images, MyWebGrocer's

                                     “A license is a complete defense to a claim
within the scope of a valid license. "A

for copyright infringement."
              infringement.” Latour v. Columbia Univ., 12 F. Supp. 3d 658, 661 (S.D.N.Y.

2014). With regard to two other Accused Images, there is no evidence that MyWebGrocer ever

copied or illegally used these images.

                 1.       “BeefBrisket001”
                          "BeefBrisket001" and “SandwichTunaSalad001”
                                               "SandwichTunaSalad001"

                             “BeefBrisket001” (iStock file number 3167753) and
        MyWebGrocer licensed "BeefBrisket001"

“SandwichTunaSalad001” (iStock file number 3168302) from iStock on or about January 7,
"SandwichTunaSalad001"

                        respectively.18 SUMF 'Irlf
2009 and June 14, 2007, respectively.18      ¶¶ 78, 90. For each image, MyWebGrocer's
                                                                        MyWebGrocer’s

                                                          “utilize the Permitted Uses an
iStock license was perpetual and permitted MyWebGrocer to "utilize

                    times,” which Permitted Uses included "on-line
unlimited number of times,"                               “on-line or electronic publications,

including web pages"
              pages” (emphasis supplied). Id. 'Irlf
                                              ¶¶ 79, 91. Consistent with its licenses,


18 Adlife did not accuse MyWebGrocer of infringement until seven to nine years
18                                                                       years after it licensed these images.


                                                      - 22 -
                                                      -22-
         Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 23 of 27




                      “BeefBrisket001” and "SandwichTunaSalad001"
MyWebGrocer added the "BeefBrisket001"     “SandwichTunaSalad001” images to its product

library, which was the only location where the images were housed (or "installed")
                                                                      “installed”) by

                   MyWebGrocer’s customers did not take possession of the images from
MyWebGrocer (i.e., MyWebGrocer's

MyWebGrocer), so that the images could be used on web pages. Id. I¶¶ 81, 93. Moreover, based

         parties’ course of dealing, iStock understood and accepted that MyWebGrocer's
upon the parties'                                                        MyWebGrocer’s use of

                                                 “BeefBrisket001” and
the images it licensed to MyWebGrocer (including "BeefBrisket001"

“SandwichTunaSalad001”) was for purposes of the web services MyWebGrocer provided to its
"SandwichTunaSalad001")

                                                                                 customers’
retail grocery store customers, including possible display of the images on such customers'

websites.19 Id. 'Irlf
websites.19     ¶¶ 80, 92.

                2.       “PorkRibBabyBack006”
                         "PorkRibBabyBack006"

                                 “PorkRibBabyBack006” image from Multi-Ad Services on
        MyWebGrocer licensed the "PorkRibBabyBack006"

or about March 24, 2000, with no stated expiration date, when it purchased three "Ad
                                                                                 “Ad Builder

     Photography” CDs from Multi-Ad Services, which contained the "PorkRibBabyBack006"
Food Photography"                                                 “PorkRibBabyBack006”

                    images.20 Id. ¶
image and 899 other images.20     ¶ 21. As with the "BeefBrisket001"
                                                    “BeefBrisket001” and

“SandwichTunaSalad001” images, MyWebGrocer added the "PorkRibBabyBack006"
"SandwichTunaSalad001"                               “PorkRibBabyBack006” image to

its product library at some point after obtaining its license. Id. ¶
                                                                   ¶ 23. Again, this was the only

location where the image was housed by MyWebGrocer. Id. Just as was the case with iStock,

Multi-Ad Services understood and accepted that MyWebGrocer's
                                               MyWebGrocer’s use of the images it licensed to

MyWebGrocer (including the "PorkRibBabyBack006"
                           “PorkRibBabyBack006” image) was for purposes of the web

services MyWebGrocer provided to its retail grocery store customers, including possible display

                      customers’ websites. Id. ¶
of the images on such customers'               ¶ 22. Neither Multi-Ad nor iStock ever accused



19 This point is supported by simple common sense: why would iStock sell licenses to MyWebGrocer that would
19
be useless to MyWebGrocer's
              MyWebGrocer’s business, and why would MyWebGrocer buy such licenses?
20
20 Adlife did not accuse MyWebGrocer of infringement until 16 years
                                                              years after it licensed the image.


                                                   - 23 -
          Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 24 of 27




MyWebGrocer of improper use of licensed images, including any Accused Images at issue in

this action.

                 3.       "MangosHR0612"
                          “MangosHR0612”

        Adlife has alleged that MyWebGrocer infringed the copyright in the "MangosHR0612"
                                                                           “MangosHR0612”

      – specifically, that the image appeared in weekly circulars included on various websites
image —

operated by Piggly Wiggly, a former retail grocery store customer of MyWebGrocer, for the ad

                                         2017.21 Id. ¶
weeks ending July 25, 2017 and August 8, 2017.21     ¶ 54.



                                     22
                                      2   Id. ¶
                                              ¶ 61. The "MangosHR0612"
                                                        “MangosHR0612” image is included in the

                                                       “PreparedFoodPhotos.com” service. Id.
library of images made available by Adlife through its "PreparedFoodPhotos.com"

¶ 62. The "MangosHR0612"
¶         “MangosHR0612” image was at no time added to or included in MyWebGrocer's
                                                                      MyWebGrocer’s

product library, and thus could not be accessed from that database to be displayed on any

                                                                              ¶ 59.
MyWebGrocer customer websites developed and/or maintained by MyWebGrocer. Id. ¶

                 4.       “WrapTurkeyHam001”
                          "WrapTurkeyHam001"

        Adlife’s only claim of infringement of the copyright for "WrapTurkeyHam001"
        Adlife's                                                 “WrapTurkeyHam001” is that

the image appeared on the deli department landing page of a single website for Pennington

                       MyWebGrocer’s customers. Id. ¶
Quality Market, one of MyWebGrocer's                ¶ 42. However, MyWebGrocer had

nothing to do with this display of the image. The customer website on which the image was

displayed was a WordPress website that, although created for the customer by MyWebGrocer,



21 Piggly Wiggly provided the "MangosHR0612"
                              “MangosHR0612” image to MyWebGrocer for digitization as part of a circular
advertisement, which included a collection of images and text, for display only on Piggly Wiggly websites. Id. ¶
                                                                                                               ¶ 56.
22




                                                                   Id. ¶
                                                                       ¶ 60.


                                                      - 24 -
        Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 25 of 27




was populated with content and maintained solely by the customer. Id. ¶
                                                                      ¶ 44. That customer

                                              “WrapTurkeyHam001” image on its own and
(through its advertising agency) obtained the "WrapTurkeyHam001"

directly placed the image on its WordPress website, with no involvement from MyWebGrocer.

Id. ¶
    ¶ 45. The image was never added to or included in MyWebGrocer's
                                                      MyWebGrocer’s product library, and thus

could not be accessed from that database to be displayed on any MyWebGrocer customer

websites developed and/or maintained by MyWebGrocer. Id. ¶
                                                         ¶ 48. Moreover, the customer

dealt directly with Adlife and resolved the issue regarding the appearance of the

“WrapTurkeyHam001” image on its WordPress website. Id. In
"WrapTurkeyHam001"                                     ¶¶ 49, 153.

                5.    “SausagePasta001”
                      "SausagePasta001"

       Adlife alleges infringement of the copyright for the "SausagePasta001"
                                                            “SausagePasta001” image because

the image appeared on various (12 stores) e-commerce websites MyWebGrocer developed

and/or maintained for ShopRite (Wakefern), one of MyWebGrocer's
                                                  MyWebGrocer’s customers. Id. ¶
                                                                               ¶ 32.

                                         “SausagePasta001” image on ShopRite’s
However, MyWebGrocer did not display the "SausagePasta001"          ShopRite's websites.

Id. ¶
    ¶ 36. The image did not come from MyWebGrocer, nor was the image ever added to or

            MyWebGrocer’s product library. Id. I¶¶ 35-36. As such, the image could not be
included in MyWebGrocer's

accessed from that database to be displayed on any MyWebGrocer customer websites developed

and/or maintained by MyWebGrocer. Id. ¶
                                      ¶ 35. Finally, as was the case for the

“WrapTurkeyHam001” image, the customer dealt directly with Adlife and resolved the issue
"WrapTurkeyHam001"

                                “SausagePasta001” image on its websites. Id. 'Irlf
regarding the appearance of the "SausagePasta001"                             ¶¶ 37, 154.

                                        CONCLUSION

       WHEREFORE, for the foregoing reasons, MyWebGrocer respectfully requests that this

Court GRANT its Motion for Partial Summary Judgment on Liability for Copyright

Infringement.




                                              - 25 -
                                              -25-
 Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 26 of 27




Dated at Burlington, Vermont this 1st day of March, 2019.

                                              MYWEBGROCER, INC.

                                              __/s/
                                                 /s/ Matthew S. Borick
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                                     - 26 -
                                     -26-
        Case 5:16-cv-00310-gwc Document 91 Filed 03/01/19 Page 27 of 27




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 1, 2019, I filed the foregoing document with the Clerk of
Court via the CM/ECF system, which will provide notice of such filing to the following NEF
counsel:

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                                                            /s/ Matthew S. Borick
                                                                           Borick__________
                                                      Matthew S. Borick




                                             - 27 -
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